CAMC General Hospital

Patient Name: JONES, JOSEPH

MRN: 0000457097 Admit: 3/19/2023

FIN: 3006931699 Disch: 3/19/2023

DOB/Age/Sex: 9/21/1991 31 years Male Admitting: Taylor,.DO,Roger Scott

[ Emergency Documentation —__ ee
Procedure

Emergency Department Splint Procedure Note NIH Stroke Scale

Injury: distal fibula fracture Stroke scale not charted

Splint material: Orthoglass HEART Score

Splint type: Posterior short leg, stirrup Score not charted

Splint location: RLE

Applied by: India Yates, PA-C

Splint was placed to ensure immobilization and adequate pain control. Adequate gauze
padding was placed and the splint was secured with ACE Bandage. The patient tolerated
the procedure well and was neurovascularly intact distally after splinting.

Medical Decision Maki

Patient presents as per HPI. They are hemodynamically stable, neurovascularly intact,
non-toxic in appearance on presentation to the ED. x-rays ordered for further evaluation,
along with 800 mg ibuprofen, Patient has no signs of respiratory compromise, is fully alert
oriented after apparent overdose. He is afebrile, non tachypneic, non tachycardic, non
hypoxic on room air. Ankle x-ray shows acute oblique fracture of the distal fibula that is
nondisplaced. X-ray foot negative for acute findings. I spoke with Orthopedic surgery
who after reviewing images suggest posterior and stirrup splinting and close follow-up
with their clinic. They recommended 325 mg aspirin twice daily. Patient will be

given prescriptions for this as well as a short course of Toradol at the recommendation of
my attending physician with instructions to preferentially take the aspirin for pain and only
use the Toradol as needed, He was not prescribed Norco for pain as he recently had

an overdose. He will be sent home with a prescription for naloxone given his

substance use history.

Assessment/ Plan

Closed fracture of distal end of right fibula S82.831A

Overdose of opiate or related narcotic T40.601A

Orders:

aspirin, 1 caps, Oral, BID, X 14 days, # 28 caps, 0 Refill(s), Acute

ketorolac, 1 tabs, Oral, q6hr, PRN as needed for pain, Not to exceed 40 mg/day and 5
days duration for all dose forms. Do not take in conjunction with other NSAIDs., X 5 days,
# 20 tabs, 0 Refill(s), Acute

Crutches

Ankle Fracture, Distal Fibula
How Bones Heal

Follow Up

With | When | Contact Information

Return to Emergency Department _ | Only if needed |

Additional Instructions: Return to ED if symptoms worsen or if you experience fever, chills, chest pain,
shortness of breath, numbness/tingling in the feet, increased redness/swelling/discoloration to the foot,
worsening or severe pain, or with any new concerns.

Ereny Bishara Within 3 to 5 days CAMC Orthopedic Trauma Group
415 Morris Street, Suite 201
Charleston, WV 25301-
(304)388-7700 Business (1)

Additional Instructions: Call for followup appointment with orthopedic surgery for further management of your
fibula fracture. You should utilize crutches and remain nonweightbearing until that time, Please take 325 mg
of aspirin twice daily for pain and to prevent blood clots.

EXHIBIT

Report Request ID: 370090115 Print Date/Time: 5/9/2023 13:01 EDT
CAMC General Hospital

Patient Name: JONES, JOSEPH

MRN: 0000457097 Admit: 3/19/2023
FIN: 3006931699 Disch: 3/19/2023
DOB/Age/Sex: 9/21/1991 31 years Male Admitting: Taylor,.DO,Roger Scott

Emergency Documentation

With | When | Contact Information

Mirza Hamirani Within 1 to 2 weeks 800 Grand Central Mall, Suite 9
Vienna, WV 26105-
(304)834-3970 Business (1)

Additional Instructions: Call for followup appointment with your PCP for management of chronic medical issues
now dressed today's visit

Medication R iliati

New Prescription
aspirin (aspirin 325 mg oral capsule)1 Capsules Oral 2 times a day for 14 Days. Refills:

0.

ketorolac (Toradol 10 mg tablet)1 tabs Oral every 6 hours as needed as needed for pain
for 5 Days. Not to exceed 40 mg/day and 5 days duration for all dose forms. Do not
take in conjunction with other NSAIDs.. Refills: 0.

"I personally evaluated and examined the patient in conjunction with the APC and agree
with the assessment, treatment plan and disposition of the patient as recorded by the
APC." (Along with MD documentation to support examination of patient.)

Electronically Signed On 03.19.23.07:45 PM
Yates, PA-C, india Alexandra

Electronically Signed On 03.23.23.03:49 PM
Taylor, DO, Roger Scott

Report Request iD: 370090115 Print Date/Time:

5/9/2023 13:01 EDT
